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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION
                                                                                             FILED
                                                                                      Scott L. Poff, Clerk
                                                                                   United States District Court

                                                                               By staylor at 2:31 pm, Feb 27, 2019

 MARILYN SANTOS, individually and as
 natural guardian of G.S. and J.S. minor
 children; and MIRIAM TAPARI, as court-
 appointed guardian of Desiana Santos, an
 incapacitated person,

                Plaintiffs,                                CIVIL ACTION NO.: 2:18-cv-114

        v.

 DEVON WILLIAM CARTER;
 CHRISTOPHER JOSEPH PROSEN; and JIM
 PROCTOR,

                Defendants.

                                           ORDER

       This matter is before the Court on Defendants’ Unopposed Joint Motion to Stay

Discovery and All Rule 26 Proceedings. Doc. 52. Defendants request the Court stay discovery

in this case until the resolution of their pending motions to dismiss. Id. at 1. Defendants

represent that Plaintiffs do not oppose the request. Id. After careful consideration and for good

cause shown, the Court GRANTS Defendants’ Motion.

       THEREFORE, IT IS HEREBY ORDERED that discovery in this case is STAYED,

pending resolution of Defendants’ motions to dismiss, docs. 49, 50, 51. The Court also

ORDERS the parties to file another Federal Rule of Civil Procedure 26(f) report within 21 days
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of the disposition of Defendants’ motions to dismiss, should any of Plaintiffs’ claims remain

pending.

       SO ORDERED, this 27th day of February, 2019.




                                     ____________________________________
                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA




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